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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

MISSION TOXICOLOGY, LLC,                     §
SUN CLINICAL LABORATORY, LLC.                §
                                             §
                                             §
      Plaintiffs,                            §
                                             §
vs.                                          §     Case No. 5:17-CV-01016-DAE
                                             §
UNITEDHEALTHCARE INSURANCE                   §
COMPANY, UNITEDHEALTHCARE OF                 §
TEXAS, INC., UNITEDHEALTHCARE OF             §
FLORIDA, INC., AND                           §
UNITEDHEALTHCARE SERVICES, INC.,             §
                                             §
      Defendants,                            §
__________________________________________

UNITEDHEALTHCARE INSURANCE                §
COMPANY, INC. AND                         §
UNITEDHEALTHCARE SERVICES, INC.           §
                                          §
      Plaintiffs,                         §
                                          §
vs.                                       §     Case No. 5:18-CV-347-DAE
                                          §
MICHAEL MURPHY, M.D., JESSE               §
SAUCEDO, JR., SAMANTHA MURPHY,            §
LYNN MURPHY, JULIE PRICER,                §
MISSION TOXICOLOGY, LLC, SUN              §
CLINICAL LABORATORY, LLC, SUN             §
ANCILLARY MANAGEMENT, LLC,                §
INTEGRITY ANCILLARY MANAGEMENT,           §
LLC, ALTERNATE HEALTH LAB, INC.,          §
AND LMK MANAGEMENT, LLC,                  §
                                          §
      Defendants.                         §
______________________________________________________________________________

          LAB DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT




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       Defendants, Mission Toxicology, LLC (―Mission‖), Sun Clinical Laboratory, LLC

(―Sun‖), Sun Ancillary Management, LLC (―SAM‖), Integrity Ancillary Management, LLC

(―IAM‖), Alternate Health Lab, Inc., and LMK Management, LLC (collectively, ―Defendants‖

or the ―Labs‖), hereby respectfully submit their Motion to Dismiss Plaintiffs‘ Complaint

(―Motion‖), in response to the April 4, 2018 Original Complaint (the ―Complaint‖) filed by

Plaintiffs UnitedHealthcare Insurance Company and UnitedHealthcare Services, Inc.

(collectively referred to herein as ―Plaintiffs‖ or ―United‖).

                                  FACTUAL BACKGROUND

        United is a health insurance company that either directly insures or administers

 Employee Retirement Income Security Act of 1974 (ERISA) employee health and welfare

 benefit plans. United provides administrative services for both Self-Funded Plans and Fully-

 Insured Plans. Complaint at ¶ 73, n. 9. Self-Funded Plans are funded by their respective

 sponsor, usually an employer, and for these plans United maintains administrative service

 agreements. Id. Fully-Insured Plans are funded by United, and for these plans United issues

 insurance policies and provides administrative services. ―United provides health insurance

 and/or administration of health plan benefits to insureds or plan participants (i.e. members),

 pursuant to a variety of health care benefit plans and policies of insurance.‖ Id. at ¶ 26.

 United‘s plans allow members the flexibility to choose to obtain healthcare services from

 either in-network providers or out-of-network providers. Id. at ¶ 27-28. The Labs are all out-

 of-network providers.

       The Labs are entities that perform diagnostic toxicology urinalysis testing, blood testing,

DNA testing, and allergy testing (hereinafter collectively referred to as ―Laboratory Services‖)

as ordered by licensed medical providers. The Labs do not directly interface with any of


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United‘s plan members prior to performing Laboratory Services. Instead, it is the physicians

and/or healthcare providers that provide medical care and assistance to United‘s plan members

and those first-line providers who determine if, when, and to what extent urinalysis or any other

testing is medically necessary. Once they have determined a patient needs medically necessary

Laboratory Services, the primary providers send samples to the Labs for testing.

       In the course of business, the Labs sometimes work with hospitals to assist the hospitals

in providing services that the hospitals could otherwise not provide on their own. Id. at ¶ 52.

Two such hospitals that Defendants worked with were Newman Memorial Hospital (―NMH‖)

and Community Memorial Hospital (―CMH‖). Id. at ¶ 17. Through contracts with these

hospitals, the Labs performed Laboratory Services for many United members and were

reimbursed for many of the claims submitted for the services performed. Id. at ¶ 5. In late 2016

and 2017, United began denying claims for Laboratory Services performed by the Labs.

United‘s failure to pay the claims led to the Labs filing suit against United in an effort to be

reimbursed for services provided to United members. As its purported rationale for denying the

claims, United concocted a narrative alleging that Defendants defrauded United by hiding their

role in providing Laboratory Services to United members. Id. at ¶ 1.

       The Court should not be swayed by the allegations set forth in the Complaint and instead

recognize United‘s claims for what they are: a ploy by Plaintiffs to recoup amounts justifiably

paid to Defendants. The Labs were legitimate subcontractors of NMH and CMH, and provided

benefits to United plan members pursuant to the terms of those plans. Defendants never

attempted or intended to deceive United or to hide their involvement in providing services to

United members. Indeed, reference lab arrangements are explicitly authorized in Section

1833(h)(5)(A) of the Social Security Act and Chapter 16, Section 40.1 of the Medicare Claims



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Processing Manual. United should not be allowed to pursue reimbursement of funds justifiably

paid for services provided to its members. Thus, for these reasons, and the reasons that follow,

Defendants ask that the Court grant the instant Motion in its entirety.

                                       STANDARD OF REVIEW

       In deciding a motion to dismiss under Fed.R.Civ.P. 12(b)(6), the Court must accept all

well-pleaded facts alleged in the Complaint as true and must construe the allegations in a light

that is most favorable to United. Central Laborers' Pension Fundv. Integrated Elec. Services

Inc., 497 F.3d 546, 550 (5th Cir.2007). The motion to dismiss should be granted only if the

Complaint does not include ―enough facts to state a claim to relief that is plausible on its face.‖

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). ―To

survive a rule 12(b)(6) motion to dismiss, a complaint ‗does not need detailed factual

allegations,‘ but must provide the plaintiff's grounds for entitlement to relief—including factual

allegations that when assumed to be true ‗raise a right to relief above the speculative level.‘‖

Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir.2007) (quoting Twombly, 550 U.S. at 555, 127

S.Ct. 1955). The ―complaint must contain sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.‖ Great Lakes Dredge & Dock Co. LLC v. La. State,

624 F.3d 201, 210 (5th Cir.2010). Legal conclusions may provide ―the complaint's framework,

[but] they must be supported by factual allegations.‖ Ashcroft v. Iqbal, 129 S.Ct. 1937,1940, 173

L.Ed.2d 868 (2009).

                                              ARGUMENT

       I.      Defendants’ Request an Oral Hearing on the Instant Motion.

       As an initial matter, Defendants respectfully request an oral hearing regarding the instant

Motion pursuant to Local Rule CV-7(h). Pursuant to Local Rule CV-7(h), ―[t]he allowance of an



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oral hearing is within the sole discretion of the court.‖ The Court has great deference on whether

or not an oral hearing is appropriate, and its ultimate ruling would only be reviewed under an

abuse of discretion standard. See Sanders v. Agnew, 306 F. App'x 844, 848 (5th Cir. 2009).

       Defendants contend that there is good cause for the Court to grant an oral hearing in the

instant matter to address 1) the implications of ERISA tracing/preemption; 2) the deficiencies of

the Complaint with respect to the allegations against Defendants; and 3) other issues raised by

the parties, both Plaintiffs and Defendants, in their respective motions to dismiss. Moreover,

granting Defendants‘ request for oral hearing serves the interest of judicial economy because it

would expedite the dismissal of any claims the Court finds are without merit and do not warrant

further time and expense to assert or defend. Thus, for these reasons, Defendants ask that the

Court exercise its discretion and grant the request for oral hearing.

       II.     United’s Causes of Action are Subject to Dismissal Because of ERISA
               Preemption.

       ERISA‘s conflict preemption provisions of 29 U.S.C. § 1144(a) preempt and supersede

any and all state laws, whether derived from legislative enactment or state common law, insofar

as any law relates to an ERISA-governed plan. Hall v. Newmarket Corp, et al., 747 F.Supp.2d

711, 715 (S.D.M.S. 2010) (citing Lee v. E.I. DuPont de Nemours & Co., 894 F.2d 755, 757–58

(5th Cir.1990)). ―The Supreme Court has established that a law ‗relates to‘ an employee benefit

plan, in the normal sense of the phrase, if it has a connection with or reference to the plan.‖ Hook

v. Morrison Milling Co., 38 F.3d 776, 781 (5th Cir. Tex. 1994) (citing Shaw v. Delta Air Lines,

Inc., 463 U.S. 85, 96-97 (1983)). The Fifth Circuit often analyzes conflict preemption using a

two part test: ―(1) The state law claim addresses an area of exclusive federal concern, such as the

right to receive benefits under the terms of an ERISA plan; and (2) the claim directly affects the

relationships among traditional ERISA entities—the employer, the plan and its fiduciaries, and

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the participants and beneficiaries.‖ Mayeaux v. Louisiana Health Serv. & Indem. Co., 376 F.3d

420, 432 (5th Cir. 2004); Hubbard v. Blue Cross & Blue Shield Ass’n, 42 F.3d 942, 945 (5th Cir.

1995). Preemption will apply even if the state law claims are not specifically designed to affect

the ERISA plans or the plans are affected only indirectly. Hook v. Morrison Milling Co., 38 F.3d

776, 781 (5th Cir. 1994) (citing Alessi v. Raybestos-Manhattan, Inc., 451 U.S. 504, 525 (1980)).1

Here, because the causes of action are for the recovery of benefits pursuant to ERISA plans,2 an

area of exclusive federal concern, and United and Defendants are traditional ERISA entities,

United‘s claims for fraud and fraudulent nondisclosure, negligent misrepresentation, theft under

the Texas Theft Liability Act, and money had and received are preempted and should be

dismissed in their entirety. Defendants‘ analysis proceeds by first addressing part two of the test,

that the parties are traditional ERISA entities, and then discussing how each cause of action

touches on areas of federal concern governed by ERISA.

    a. United and Defendants are traditional ERISA Entities for which Conflict
       Preemption Applies.

       United and Defendants satisfy part two of the Fifth Circuit‘s two part test for conflict

preemption because United is an ERISA fiduciary and Defendants, as assignees of United

members, are beneficiaries. A person is a fiduciary with respect to a plan to the extent:

       (i) he exercises any discretionary authority or discretionary control respecting
       management of such plan or exercises any authority or control respecting
       management or disposition of its assets, (ii) he renders investment advice for a fee
       or other compensation, direct or indirect, with respect to any moneys or other
       property of such plan, or has any authority or responsibility to do so, or (iii) he

1
  Kersh v. UnitedHealthcare Ins. Co., 946 F.Supp.2d 621, 631 (W.D. Tex 2013) (citing Cefalu v.
B.F. Goodrich Co., 871 F.2d 1290, 1292 n. 5 (5th Cir.1989)) (―A state-law cause of action that
relates to an ERISA plan is preempted ‗even if the action arises under general state law that in
and of itself has no impact on employee benefit plans.‖).
2
  While United‘s Complaint does not explicitly state the majority of member plans at issue are
governed by ERISA, upon and information provided in the Complaint, the Exhibits attached
thereto, and belief, Defendants contend that this is the case.
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       has any discretionary authority or discretionary responsibility in the
       administration of such plan. Such term includes any person designated under
       section 1105(c)(1)(B) of this title. 29 U.S.C. § 1002(21)(A).

A ―person‖ can refer to entities under ERISA. 29 U.S.C. § 1002(9). Here, United artfully

pleads its Complaint to minimize the discretion it has in administering healthcare services and

to avoid labeling itself a fiduciary or mentioning ERISA. See generally, Complaint. Despite

these tactics it is clear based on the definition set forth in 29 U.S.C. § 1002(21)(A) that United

is an ERISA fiduciary and therefore a traditional ERISA entity.

         United is clearly an ERISA fiduciary because United exercises discretion in

managing benefits paid for the Laboratory Services provided to its members. Furthermore, as

United admits in its Complaint, the plans ―vest with United the authority, responsibility, and

discretion to pursue overpayments, fraud, waste, and abuse, on the plans‘ behalf.‖ Complaint

at ¶ 73, n. 9. This discretionary authority and discretionary control in utilizing the plans

matches the definition of an ERISA fiduciary set forth 29 U.S.C. § 1002(21)(A) and therefore

United is a traditional ERISA entity. See Mayeaux, 376 F.3d at 432; Hobson v. Robinson, 75

F. App'x 949, 953 (5th Cir. 2003) (equating traditional ERISA entities with ―the employer, the

plan, and its fiduciaries, and the participants and beneficiaries‖).

         Moreover, because Defendants are beneficiaries, the causes of action affect the

relationship between traditional ERISA entities, and therefore conflict preemption applies. It

is well established that beneficiaries are traditional ERISA entities. Id. As assignees of the

benefits of United‘s members, Defendants stand in the shoes of the beneficiaries and are

themselves considered beneficiaries. See Metroplex Infusion Care, Inc. v. Lone Star

Container Corp., 855 F. Supp. 897, 900 (N.D. Tex. 1994) (citation omitted) (stating ―an

assignee of benefits under ERISA is a statutory beneficiary of the plan‖). Thus, the claims set


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forth in the Complaint affect the relationship between traditional ERISA entities and the

second part of the Fifth Circuit‘s two-party conflict preemption test is satisfied. See Hobson,

75 F. App'x at 953.

    b. United’s Causes of Action for Fraud, Fraudulent Nondisclosure, Negligent
       Misrepresentation, Theft Under the Texas Theft Liability Act, and Money Had
       and Received Address the Right to Receive Benefits.

       Conflict preemption applies in the case at hand because United‘s causes of action

address the right to receive benefits pursuant to the terms of the plans, satisfying prong one of

the two part conflict preemption test. Both the Supreme Court and the Fifth Circuit have

acknowledged that ERISA‘s preemption language is deliberately expansive so that the ERISA

preemption provisions have a broad sweep.3 Heimann v. National Elevator Industry Pension

Fund, 187 F.3d 493, 512 (5th Cir.1999). In determining if conflict preemption applies, courts

consider ―whether the state law claims are ‗bound up with interpretation and administration of

the ERISA plan.‘‖ Nixon v. Vaughn, 904 F. Supp. 2d 553, 561 (W.D. La. 2012). Here, the

causes of action are inextricable from the administration of the plans and therefore both parts of

the two-part test for conflict preemption are satisfied and the causes of action should be

dismissed.

    1. Fraud and Fraudulent Nondisclosure and Negligent Misrepresentation are
       subject to ERISA Preemption.
    United‘s claims for Fraud and Fraudulent Nondisclosure and Negligent Misrepresentation

are governed by ERISA‘s conflict preemption provisions because they are all based on the

terms of United members‘ ERISA plans. Because ―ERISA‘s preemption language ‗is

deliberately expansive, and has been construed broadly by federal courts,‘‖ if a fraud claim is

3
 ―Pre-emption of state law actions by federal law is to be decided based on the intent of
Congress, which clearly intended the ERISA pre-emption clause to have an expansive reach.‖
Cefalu v. B.F. Goodrich Co., 871 F.2d at 1293 (quoting Allis-Chalmers Corp. v. Lueck, 471 U.S.
202, 208, 85 L. Ed. 2d 206, 105 S. Ct. 1904 (1985)) (citations omitted).
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based on a state law claim that ―has a connection with or reference to‖ the terms of an ERISA

plan, it will be preempted. Smith v. Texas Children’s Hosp., 84 F.3d 152, 155 (5th Cir. 1996)

(citation omitted). Where a fraud or negligent misrepresentation claim is based on payments

owed or made under a plan, the claim is preempted. See Transitional Hosps. Corp. v. Blue

Cross & Blue Shield, 164 F.3d 952, 954 (5th Cir. 1999) (preempting state law claims by a

hospital seeking recovery of benefits owed under a plan to a plan participant). Moreover, the

distinction regarding whether services are in-network or out-of-network, and whether such

in/out-of-network services are covered for United members is governed by the particular plans.

See generally, North Cypress Medical Center Operating Co., Ltd. v. Cigna Healthcare, 781

F.3d 182, 193-94 (5th Cir. 2015).

        In the case at hand, United combats whether the Laboratory Services for which it paid

 were actually covered under the terms of its members‘ plans and seeks reimbursement of

 benefits properly paid under the terms of its members‘ plans. Such entwinement of the

 allegations in the Complaint with the ERISA plans of United members necessitates a finding

 of conflict preemption. Each of fraud and fraudulent nondisclosure and negligent

 misrepresentation shares a common element: each of them is based on alleged

 misrepresentations regarding the submission of claims for benefits to United. Complaint at ¶¶

 127, 184. Moreover, the misrepresentations center on, among other allegations, the receipt of

 reimbursements from plans that do not cover out-of-network services and the receipt of

 reimbursements at the higher co-insurance percentage for in-network services. Complaint at ¶

 65. Whether or not a particular in or out-of-network service is covered deals with the terms of

 the ERISA plans. See generally North Cypress Medical Center Operating Co., Ltd. v. Cigna

 Healthcare, 781 F.3d 182, 193-94 (5th Cir. 2015). United is alleging that the plans were



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incorrectly administered and reimbursed because of Defendants‘ misrepresentations and

fraudulent nondisclosures. Complaint at ¶¶ 127, 184. This connection with ERISA plans and

the role of United as an ERISA fiduciary necessitates a finding of ERISA preemption. See

Transitional, supra, 164 F.3d at 954; Smith v. Texas Children's Hosp., 84 F.3d 152, 154-155

(5th Cir. Tex. May 15, 1996); Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 100 (1983). The

claims for fraud and fraudulent nondisclosure and negligent misrepresentation therefore must

be dismissed.

   2. United’s Claims under the Texas Theft Liability Act Are Subject to Conflict
      Preemption.

       United‘s claim for violation of the Texas Theft Liability Act is preempted because it is

based on the alleged unlawful appropriation of benefits provided pursuant to ERISA plans.

Texas Penal Code § 31.03 provides that ―[a] person commits an offense if he unlawfully

appropriates property with intent to deprive the owner of property.‖ The Southern District of

Texas Court addressed whether claims under this statute were subject to ERISA preemption in

St. Michael’s Emergency Ctr., LLC v. Aetna Health Mgmt., LLC, 2011 U.S. Dist. LEXIS

155623, *68-69 (S.D. Tex. Aug. 22, 2011). In St. Michael’s, the plaintiffs argued that the

defendants unlawfully obtained services by failing to pay for treatments provided pursuant to

the terms of ERISA plans. Id. Because the claims were based on a failure to pay as required

under the plans, they were governed by ERISA and therefore preempted. Id. United cannot

escape preemption since its claims are based on the ERISA plans. See Weiner v. Tex. Health

Choice, L.C., 2002 U.S. Dist. LEXIS 2654, *11 (N.D. Tex. Feb. 15, 2002) (no preemption

where claims are not based on the ERISA plans).

       United‘s claims under the Texas Theft Liability Act are subject to ERISA preemption

because they are based on benefits provided pursuant to the ERISA plans of United members.

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United‘s Texas Theft Liability Act claim is based on: ―words in the claims submitted to

United, false impressions of facts that IAM, Sun, Mission, Dr. Murphy, and Saucedo did not

believe to be true;‖ and ―the false impression of fact that [Sun and Mission] were part of

United‘s provider network . . . .‖ Complaint at ¶¶ 161-62. Each purported instance of conduct

amounting to appropriation relates to billing for claims, providing services per the ERISA

plans, and the coverage of services as in-network or out-of-network, pursuant to the terms of

the plans. This Circuit maintains that preemption applies even if the conduct alleged in the

Complaint was in some instances only indirectly centered on the ERISA plans. Hook v.

Morrison Milling Co., 38 F.3d 776, 781 (5th Cir. Tex. Nov. 14, 1994) (citations omitted).

Here, the unlawfully appropriated property is money paid to Defendants that was only

―unlawfully appropriated‖ by United exercising its discretion as an ERISA fiduciary and

administering benefits pursuant to the plans. Complaint at ¶ 161 (discussing United‘s judgment

as to whether benefits should be paid). This nexus is sufficient for ERSIA conflict preemption

to apply under Fifth Circuit law, and therefore the alleged violations of the Texas Theft

Liability Act must be dismissed.

   3. Money Had and Received Is Subject to Conflict Preemption

       United‘s claim for money had and received is subject to conflict preemption because it

too is based on funds provided under the terms of ERISA plans. A claim ―relates to‖ a health

benefit plan when the claim is premised on the existence of an employee benefit plan. Hall v.

Newmarket Corp, et al., supra, 747 F.Supp.2d at 715 (citing Christopher v. Mobil Oil Corp.,

(950 F.2d 1209, 1220 (5th Cir. 1992)). ―Money had and received is an equitable doctrine

applied to prevent unjust enrichment.‖ Bank of Saipan v. CNG Financial Corp., 380 F.3d 836,

840 (5th Cir. 2004). Courts in the Fifth Circuit have analyzed ERISA preemption in the



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 context of unjust enrichment and similar causes of action on several occasions. First Nat'l

 Ltd. v. Reliance Std. Life Ins. Co., 2010 U.S. Dist. LEXIS 108971, *14-15 (N.D. Tex. Oct. 12,

 2010); St. Michael's Emergency Ctr., LLC v. Aetna Health Mgmt., LLC, 2011 U.S. Dist.

 LEXIS 155623, *46-47 (S.D. Tex. Aug. 22, 2011). A common aspect of the analysis for these

 claims is whether the claims themselves are based on funds provided under the ERISA plans.

 ―Implicit in each of these claims is that [Defendant] is entitled to recover the proceeds as

 beneficiary under the Policy. Otherwise there would be no potential for unjust enrichment.

 Absent the policy, then, neither of these claims exists.‖ First Nat’l Ltd. v. Reliance Std. Life

 Ins. Co., 2010 U.S. Dist. LEXIS 108971, at 14-15 (emphasis added).

         The same conclusion must be reached here. First, absent the ERISA plans, United

 would not have made any payments. Second, United‘s claims require an analysis of the ERISA

 plans themselves, including what services were covered under the plans and what were the

 rightful reimbursements to Defendants under the plans for the Laboratory Services performed.

 This direct relationship between the claims and ERISA plans subject money had and received

 to conflict preemption under 28 U.S.C. § 1144(a).

       III.    Fraud and Fraudulent Nondisclosure and Negligent Misrepresentation Are
               Insufficiently Pled.

       United‘s Complaint fails to meet the heightened standard of pleading fraud and

therefore must be dismissed. Federal Rule of Civil Procedure 9(b) ―requires, at a minimum, that

a plaintiff set forth the who, what, when, where, and how of the alleged fraud . . . . The Fifth

Circuit interprets Rule 9(b) strictly, requiring specific allegations as to each element of fraud.‖

BC’s Heating & Air and Sheet Metal Works v. Vermeer Mfg. Co., 2012 WL 1067100 at *2

(S.D. Miss. 2012) (internal citations and quotation marks omitted); see also Sullivan v. Leor

Energy, LLC, 600 F.3d 542, 550-51 (5th Cir. 2010). This requires that the party alleging fraud

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―specify the statements contended to be fraudulent, identify the speaker, state when and where

the statements were made, and explain why the statements were fraudulent.‖ Dorsey v Portfolio

Equities, Inc., 540 F.3d 333, 339 (5th Cir. 2008) (internal citations and quotation marks

omitted). ―Under Texas law, fraud occurs when: (1) a party makes a material representation; (2)

the misrepresentation is made with knowledge of its falsity or made recklessly without any

knowledge of its truth and as a positive assertion; (3) the misrepresentation is made with the

intention that it should be acted on by the other party; and (4) the other party relies on the

misrepresentation and thereby suffers injury.‖ Beijing Metals & Minerals Import/Export Corp.

v. Am. Bus. Ctr., Inc., 993 F.2d 1178, 1185 (5th Cir.1993); see also Formosa Plastics Corp.

USA v. Presidio Eng'rs & Contractors, Inc., 960 S.W.2d 41, 47 (Tex. 1998). Conn. Gen. Life.

Ins. Co. v. Humble Surgical Hosp., LLC, 2016 U.S. Dist. LEXIS 71127, *46-47 (S.D. Tex. June

1, 2016).

        United‘s pleadings are deficient with regards to the level of specificity when taking

 into account the Fifth Circuit‘s heightened pleading standard. United references allegedly

 fraudulent conduct, but does not provide any indication as to when or where the conduct

 occurred. The general, nonspecific nature of the allegations of supposed fraud provides no

 particularity tying any specific statements made by any particular individuals on any given

 occasion. Where the claim is lacking in such specificity, it must be dismissed.

       In the Fifth Circuit, the heightened pleading standard applies to negligent

misrepresentation as well as fraud claims in cases where the plaintiffs do not ―urge a separate

focus‖ on the negligent misrepresentation claims – for instance, where both claims ―are based

on the same set of alleged facts.‖ Benchmark Electronics, Inc. v. J.M. Huber Corp., 343 F.3d

719, 724 (5th Cir. 2003); see also Lone Star Fund V (U.S.) LP v. Barclays Bank, PLC, 594 F.3d



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383, 387 n.3 (5th Cir. 2010); Center v. Total Body Contouring Incorporated, 2017 WL 1093203

at *6 (N.D. Miss. 2017). ―Under Texas law, a negligent misrepresentation occurs when: (1) a

party makes a representation in the course of its business or in a transaction in which it has a

pecuniary interest; (2) the representation supplies false information for the guidance of others in

their business; and (3) the party making the representation did not exercise reasonable care or

competence in obtaining or communicating the information.‖ First Nat'l Bank of Durant v.

Trans Terra Corp. Int'l, 142 F.3d 802, 809 (5th Cir. 1998) (quoting Federal Land Bank Ass'n

v. Sloane, 825 S.W.2d 439, 442 (Tex. 1991)); Conn. Gen. Life. Ins. Co. v. Humble Surgical

Hosp., LLC, 2016 U.S. Dist. LEXIS 71127, *49 (S.D. Tex. June 1, 2016).

       Here, United‘s claim of negligent misrepresentation is based on the same set of alleged

 facts as its fraud claim and therefore fails for the same reasons that its fraud claim fails – it has

 not alleged any sufficiently specific facts to satisfy the particularity requirement of Rule 9(b).

 See generally, Spragins v Sunburst Bank, 605 So.2d 777, 780. As with United‘s fraud claim,

 notably missing in its negligent misrepresentation claim is the level of detail required by 9(b):

 the who, what, when, where, why, and how. See Sullivan, 600 F.3d at 551. Because United

 fails to meet this standard, its claim for negligent misrepresentation must be dismissed as a

 matter of law.

       IV.        The Complaint Contains Insufficient Detail to Successfully Allege United’s
                  Claim for Fraudulent Transfers.

       United‘s claims for fraudulent transfers must be dismissed as a matter of law because

they are insufficiently pled and lack any factual particularity with respect to intent. A cause of

action for fraudulent transfer must assert that there was actual or constructive fraudulent intent.

Walker v. Anderson, 232 S.W.3d 899, 914 (Tex. App. 2007). Section 24.005(b) of the Texas

Business & Commerce Code Annotated sets out a list of facts and circumstances that can

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evidence fraudulent intent.4 Here, United has only offered details showing that transfers of assets

were made between NMH, CMH, and Defendants, but there is nothing illegal or even

unexpected about entities doing business with one another transferring money. While United

states that the transfer of funds was made, ―with the actual intent to hinder, delay, and defraud

United,‖ this is nothing more than a hollow recitation of the law with the names of Defendants

filled in to the blanks. Complaint at ¶ 171. Defendants transferred funds because the funds were

reimbursements for Laboratory Services that Defendants themselves performed; United offers no

evidence that such transfers were done to defraud United (or any other party). This cause of

action therefore does not contain enough factual matter to sufficiently plead a claim to survive a

motion to dismiss. See Cuvillier, 503 F.3d at 401 (5th Cir. 2007) (quoting Twombly, 550 U.S. at

555, 127 S.Ct. 1955). United concludes by stating that Defendants knew or should have known

that NMH and CMH would soon incur debts beyond their ability to pay, but cites no fact and

provides no detail as to how Defendants should or could have known of NMH and CMH‘s

financial solvency. Complaint at ¶ 172. United‘s claim for fraudulent transfers is so wholly

lacking in specificity or any factual detail and therefore even accepting United‘s allegations as

true, the claim fails and must be dismissed as to all Defendants pursuant to F.R.C.P. 12(b)(6).

       V.      United Insufficiently Pleads its Tortious Interference with Contract Claim.

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   ―In determining actual intent under Subsection (a)(1) of this section, consideration may be
given, among other factors, to whether: (1) the transfer or obligation was to an insider; (2) the
debtor retained possession or control of the property transferred after the transfer; (3) the transfer
or obligation was concealed; (4) before the transfer was made or obligation was incurred, the
debtor had been sued or threatened with suit; (5) the transfer was of substantially all the debtor's
assets; (6) the debtor absconded; (7) the debtor removed or concealed assets; (8) the value of the
consideration received by the debtor was reasonably equivalent to the value of the asset
transferred or the amount of the obligation incurred; (9) the debtor was insolvent or became
insolvent shortly after the transfer was made or the obligation was incurred; (10) the transfer
occurred shortly before or shortly after a substantial debt was incurred; and (11) the debtor
transferred the essential assets of the business to a lienor who transferred the assets to an insider
of the debtor.‖ Tex. Bus. & Com. Code Ann. § 24.005(b).
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      United‘s claims for tortious interference with contract must be dismissed as a matter of

law because it is insufficiently pled. Under Texas state law there are four elements to

successfully prove a tortious interference with existing contracts: ―(1) an existing contract

subject to interference, (2) a willful and intentional act of interference with the contract, (3)

that proximately caused the plaintiff's injury, and (4) caused actual damages or loss.‖

Prudential Ins. Co. of Am. v. Fin. Review Servs., Inc., 29 S.W.3d 74, 77 (Tex. 2000); see also

Amigo Broad., LP v. Spanish Broad. Sys., Inc., 521 F.3d 472, 489 (5th Cir. 2008). The party

alleging tortious interference has the burden of proving each element of the claim. Dunn v.

Calahan, No. 03-05-00426-CV, 2008 Tex. App. LEXIS 9498, 2008 WL 5264886, at *3 (Tex.

App.--Austin Dec. 17, 2008, pet. denied) (mem. op.).‖ Rimkus Consulting Group, Inc. v.

Cammarata, 688 F. Supp. 2d 598, 674-675 (S.D. Tex. Feb. 19, 2010). With respect to the

second element requiring ―a willful and intentional act of interference with the contract,‖ the

alleging party must present evidence of specific contract provisions that were breached. Id. at

675. ―General claims of interference with a business relationship are insufficient to establish a

tortious interference with contract claim.‖ Id. The claim must make it clear that the

interference was intentional. Homoki v. Conversion Servs., 717 F.3d 388, 396 (5th Cir. Tex.

May 28, 2013). ―Moreover, ‗a plaintiff must show that the defendant took an active part in

persuading a party to breach its contract . . . .[;] [m]erely entering into a contract with a party

with the knowledge of that party's contractual obligations to someone else is not the same as

inducing a breach.‘" Seeberger v. Bank of Am., N.A., 2015 U.S. Dist. LEXIS 168348, *62

(W.D. Tex. Dec. 16, 2015) (quoting Settlement Funding LLC v. RSL Funding, LLC, 3 F. Supp.

3d 590, 607-08 (S.D. Tex. 2014)).

      Despite the length of the Complaint and many Exhibits, United fails to allege with



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specificity that the Defendants knowingly targeted contract provisions. This failure to provide

detail is critical to United‘s claims. United‘s Complaint alleges that Sun, Mission, SAM, and

IAM, used CMH and NMH‘s billing credentials to disguise out-of-network lab services as

though they were performed by CMH and NMH so that Sun, Mission, SAM, and IAM would

be reimbursed pursuant to the contracts between United and the hospitals. Complaint at ¶ 149.

This allegation does not in any way equate to a showing that any of Defendants knew the terms

of the contract or intentionally interfered with such terms, as is required. See Rimkus Consulting

Group, Inc., 688 F. Supp. 2d 598 at 675. Indeed, United admits that Sun, Mission, SAM, and

IAM are strangers to the contracts between United and the hospitals, and does not allege how

these Defendants would have knowledge of specific contract terms. Complaint at ¶¶ 149-152.

United also alleges that IAM intentionally did not collect copays and deductibles from patients

in violation of United‘s contract, but fails to allege IAM had knowledge of the terms of

collection of payments set forth in United‘s contracts. Complaint at ¶ 149. At no point in its

Complaint does United reference any specific agreements, the terms of specific agreements, or

how Defendants would have knowledge of terms of these agreements. Instead, United‘s

defective Complaint contains exactly the kind of generalized tortious interference claims that

are insufficient under Texas case law. Rimkus Consulting Group, Inc. v. Cammarata, 688 F.

Supp. 2d 598, 674- 675 (S.D. Tex. Feb. 19, 2010). Even accepting United‘s allegations as true,

the claim for tortious interference fails to allege sufficient detail and must be dismissed

pursuant to F.R.C.P. 12(b)(6).

       VI.     United’s Claim for Theft under the Texas Theft Liability Act Fails.

       To establish a Texas Theft Liability Act claim, United must show that: (1) Defendants

unlawfully acquired or otherwise exercised control over property belonging to United; (2)



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Defendants intended to withhold the property from United permanently or for an extended period

of time; and (3) United was thereby damaged. Harmon v. Harmon, 962 F. Supp. 2d 873, 883

(S.D. Tex. 2013); Mid-Town Surgical Ctr., LLP v. Blue Cross Blue Shield of Texas, No. CIV.A.

H-11-2086, 2012 WL 3028107, at *4 (S.D. Tex. July 24, 2012); Meadows v. Hartford Life Ins.

Co., 429 F. Supp. 2d 853, 866 (S.D. Tex. 2006). United‘s Complaint only provides the vaguest

of details regarding the ―deception‖ used by Defendants to obtain money from United. United is

surreptitiously revamping its previously alleged fraud claim as a violation of the Texas Theft

Liability Act. Accordingly, United‘s claim for damages under the Texas Theft Liability Act must

be dismissed for the same reason the fraud claims should be dismissed, that is, because they fail

to allege sufficient details about when and where any fraudulent conduct occurred. The general,

nonspecific nature of the allegations of supposed ―deception‖ provides no particularity tying any

specific statements made by any particular individuals on any given occasion. Where the claim is

lacking in such specificity, it must be dismissed. Conn. Gen. Life. Ins. Co. v. Humble Surgical

Hosp., LLC, 2016 U.S. Dist. LEXIS 71127, *46-47 (S.D. Tex. June 1, 2016).

       VII.   Money Had and Received is Insufficiently Pled.

       To establish a claim for money had and received, United must show that Defendants hold

money that in equity and good conscience that money belongs to United. Graman v. Graman,

No. 05-14-01254-CV, 2016 WL 235055, at *5 (Tex. App. Jan. 20, 2016). A claim for money had

and received is not premised on wrongdoing, but rather looks only to the justice of the case and

inquires whether the defendant has received money which rightfully belongs to another. Plains

Expl. & Prod. Co. v. Torch Energy Advisors Inc., 473 S.W.3d 296, 302 (Tex. 2015). Defendants

provided Laboratory Services to patients at the request of medical providers and billed only for

those services. United has not alleged any facts to support its assertion that, in fairness, the



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money for those services belongs to United. Moreover, United‘s claim for money had and

received states that it paid money to NMH and CMH for services rendered, but that ―Defendants

took the money. . . .‖ Complaint ¶ 180. Defendants were merely paid for the services they

rendered, and United has not provided any facts supporting the notion that fairness would have

the money returned to United. Accordingly, the claim fails and must be dismissed as to all

Defendants pursuant to F.R.C.P. 12(b)(6).

                                            CONCLUSION

       For the foregoing reasons, Defendants respectfully ask that this Court dismiss United‘s

Complaint in its entirety.

                                             Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 18, 2018, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified below in the manner
specified, either by transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not allowed to receive
electronically Notices of Electronic Filing.

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